              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN


YASMEEN DANIEL, individually,
and as Special Administrator of
the ESTATE OF ZINA DANIEL
HAUGHTON,

                   Plaintiffs,

            -vs-                                     Case No. 15-C-1387


ARMSLIST, LLC,
BRIAN MANCINI,
BROC ELMORE,
JONATHAN GIBBON,
DEVIN LINN,
ABC INS. CO., DEF INS. CO.,
ESTATE OF RADCLIFFE HAUGHTON,

                   Defendants.

                          DECISION AND ORDER


      This action arises from the October 21, 2012, mass shooting at the

Azana Spa and Salon in Brookfield, Wisconsin. On that date, Radcliffe

Haughton killed his wife, Zina Daniel Haughton, two of his wife’s co-

workers, and himself, wounding four others. Haughton bought the murder

weapon through Armslist.com, an online marketplace for the sale and

purchase of firearms, even though he was not allowed to possess a firearm

pursuant to a domestic violence restraining order.

      Yasmeen Daniel, Zina’s adult daughter from a previous marriage,
was at the spa and witnessed the carnage. Daniel brought suit in

Milwaukee County Circuit Court against Armslist and its owners, Brian

Mancini, Broc Elmore, and Jonathan Gibbon. Daniel also sued Devin Linn,

a Wisconsin resident that sold the murder weapon to her stepfather, and

her stepfather’s estate. Daniel alleges, as relevant here, that Armslist

aided and abetted the unlawful sale and possession of a firearm in

violation of state and federal law. The Armslist defendants removed from

state court, and Daniel now moves to remand. This motion is granted.

                              BACKGROUND

      The following facts are taken from the complaint and accepted as

true for purposes of this motion.

      On October 3, 2012, Radcliffe Haughton assaulted Zina Daniel

Haughton in their home. In response to a 911 call, police from the Brown

Deer Police Department arrived and escorted Zina to a local Holiday Inn to

protect her from further violence. The following day, Brown Deer police

took Zina back to her home to retrieve some personal items, after which

she drove to work at Azana.

      That same day, Radcliffe appeared in Azana’s parking lot with a

knife and confronted Zina, who took shelter in the salon. Left in the

parking lot, Radcliffe slashed the tires of Zina’s car. Later that day, Brown

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Deer police arrested Radcliffe for domestic violence, criminal damage to

property, and disorderly conduct.

      The next day, Zina signed a 72-hour contact prohibition against

Radcliffe, requiring him to avoid contacting her other than through a law

enforcement officer or an attorney. On October 8, Zina filed a petition for a

restraining order in Milwaukee County. The court issued a temporary

restraining order while the matter was pending. On October 18, Radcliffe

and Zina attended a hearing to adjudicate the petition. Zina told the court

that Radcliffe’s threats terrorized her “every waking moment.” Brown Deer

police officers also testified in favor of Zina. The court granted Zina’s

petition and prohibited Radcliffe from approaching his wife for four years,

the maximum allowed under Wisconsin law. The court also prohibited

Radcliffe from possessing a firearm until October 18, 2016, finding “clear

and convincing evidence” that he might use a firearm to harm Zina and

endanger public safety.

      Federally licensed firearms dealers are required to conduct

background checks on gun buyers to prevent sales to individuals prohibited

from possessing firearms. In enacting this requirement, Congress

recognized and sought to address the inherent danger to the public posed

by certain individuals possessing firearms. Unlicensed private sellers, who

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are not engaged in the business of selling firearms, are not required to

conduct background checks under federal law.

      Private sales over the internet are frequently linked to illegal gun

trafficking, sales to minors, and mass shootings, such as those that took

place at Virginia Tech, a Navy recruiting center in Chattanooga,

Tennessee, and Northern Illinois University. As a result, many websites

have prohibited private gun sales, including ebay, Craigslist, Amazon.com,

and Google AdWords.

      In the marketplace created by Armslist, any putative buyer can post

a description of the firearm they wish to purchase and any seller can post a

description of the firearm they wish to sell. Armslist’s customers contact

one another through Armslist’s server by clicking on a link in their website

or using their counterparty’s contact information. Armslist receives

revenue through advertising, so the more gun transactions that occur, the

more money Armslist makes.

      Several of the most significant design features of Armslist.com assist

prohibited purchasers in evading federal and state laws while acquiring

firearms. For example, Armslist provides the data fields which its

customers fill out when they create “want to buy” or “for sale” posting. For

sellers, one of the most prominent data fields is whether a seller is a

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“premium vendor” (that is, a purportedly licensed gun dealer) or a “private

seller.” Similarly, for a purchaser posting a “want to buy” advertisement,

Armslist offers a “seller” data field for them to specifically identify whether

they would prefer to purchase from a private party as opposed to a licensed

dealer. Armslist also has a search function that allows buyers to search for

only private sellers. Armslist does allow users to flag advertisements for

review and policing, but expressly prevents users from flagging content as

criminal and illegal. Users are not required to register an account, thereby

encouraging anonymity, and Armslist prominently displays on each

advertisement whether the account is registered or unregistered.

       Radcliffe Haughton’s search for firearms took place exclusively on

Armslist.com and made use of the search function to exclude licensed

dealers. On October 19, 2012, Haughton found an Armslist.com offer of sale

posted by Linn for a used FNP-40 semiautomatic handgun with three high-

capacity magazines of ammunition. The advertised cost was $500, more

than it would normally cost for a legitimate buyer. Haughton emailed Linn

using the contact function. On October 20, the day before the shooting,

Haughton bought the gun from Linn in a McDonald’s parking lot in

Germantown, Wisconsin.



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                                ANALYSIS

      Courts interpret removal statutes narrowly with the implicit

understanding that a plaintiff is free to choose his forum. Kenosha Unified

Sch. Dist. v. Stifel Nicolaus & Co., Inc., 607 F. Supp. 2d 967, 973 (E.D. Wis.

2009). Doubts regarding subject matter jurisdiction are resolved in favor of

remand. Id. (citing Doe v. Allied-Signal, Inc., 985 F.2d 908, 911 (7th Cir.

1993)).

      The Armslist defendants invoke federal question jurisdiction. 28

U.S.C. § 1331. A case arises under federal law in two ways. Evergreen

Square of Cudahy v. Wis. Housing & Econ. Dev’t Auth., 776 F.3d 463, 465

(7th Cir. 2015) (citing Gunn v. Minton, --- U.S. ---, 133 S. Ct. 1059, 1064

(2013)). “Most directly, a case arises under federal law when federal law

creates the cause of action asserted.” Id. This “accounts for the vast bulk of

suits that arise under federal law.” Id. But where “a claim finds its origins

in state rather than federal law,” the Supreme Court has “identified a

special and small category of cases in which arising under jurisdiction still

lies.” Id. at 465-66. In this category, courts ask whether the “state-law

claim necessarily raise[s] a stated federal issue, actually disputed and

substantial, which a federal forum may entertain without disturbing any

congressionally   approved    balance      of   federal   and   state   judicial

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responsibilities.” Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg.,

545 U.S. 308, 314 (2005). This inquiry “rarely results in a finding of federal

jurisdiction,” but “rarely” differs from “never.” Evergreen Square, 776 F.3d

at 466 (citing Hartland Lakeside Joint No. 3 Sch. Dist. v. WEA Ins. Corp.,

756 F.3d 1032, 1033 (7th Cir. 2014)).

      Daniel brings eleven claims: (1) negligence; (2) negligence per se; (3)

negligent entrustment; (4) negligent infliction of emotional distress; (5)

civil conspiracy; (6) aiding and abetting tortious conduct; (7) public

nuisance; (8) wrongful death; (9) piercing the corporate veil; (10) assault;

and (11) battery. These are state law causes of action.

      Even so, Armslist argues that Count VI arises under federal law

because it alleges a violation of federal criminal statutes: the aiding and

abetting statute, 18 U.S.C. § 2, and 18 U.S.C. § 922(d), which makes it

unlawful to sell a firearm to certain persons, including one (such as

Radcliffe Haughton) who is subject to a domestic violence restraining order.

Neither statute creates a federal civil cause of action. See, e.g., Alcante v.

HRB Tax Group, Inc., No. 11-cv-125, 2011 WL 2729191, at *1 (N.D. Ind.

2011) (18 U.S.C. § 2 is a “criminal statute[] that do[es] not create private

rights of action”); Bannerman v. Mountain State Pawn, Inc., No. 10-cv-46,

2010 WL 9103469, at *7 (N.D.W.V. Nov. 5, 2010) (“the language, legislative

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history, and purpose of § 922 do not create a substantive federal right of

the plaintiff to recover damages”). Accordingly, Armslist must demonstrate

that Daniel’s claims “turn on substantial questions of federal law, and thus

justify resort to the experience, solicitude, and hope of uniformity that a

federal forum offers on federal issues.” Grable, 545 U.S. at 312.

       In this respect, Armslist argues that Counts II and VI raise

substantial federal questions by seeking to impose liability for violating

federal criminal statutes. This argument wrongly presumes that Daniel

cannot prevail on these claims unless she proves a violation of federal law.

To the contrary, in Count II (negligence per se), Daniel alleges that the

Armslist Defendants and Linn “violated federal, state, and local statutes,

regulations, and ordinances, including without limitation by aiding and

abetting the unlawful possession of a firearm pursuant to 18 U.S.C. § 2 and

18 U.S.C. § 922(g),1 and endangering safety by use of a dangerous weapon

pursuant to Wis. Stat. § 941.20(1).” Complaint, ¶ 141 (emphases added).

Thus, Count II does not “necessarily raise a stated federal issue …” Grable,

545 U.S. at 314. Similarly, Count VI alleges that the Armslist defendants

aided and abetted (1) a § 922(d) violation, (2) the negligent entrustment of



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        § 922(g) makes it illegal for certain persons to possess or transport firearms –
those persons to whom it is illegal to sell firearms under § 922(d).
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the murder weapon by Linn to Radcliffe Haughton, and (3) the negligent

and reckless operation of Armslist.com. Complaint, ¶¶ 172-74. The latter

two theories are creatures of state law, not disputed federal issues.

       Armslist argues further that Count VI contains two separate claims,

one state and one federal, not alternative theories of liability. This is wrong

because Count VI is premised upon the same conduct: “acting in concert to

broker the transaction between a dangerous, prohibited purchaser,

Radcliffe Haughton, and Linn, shifting the responsibility of vetting

purchasers to Linn, whom the Armslist Defendants knew or should have

known would be unqualified to perform such vetting, and otherwise acting

recklessly and negligently.” Complaint, ¶¶ 172, 174. “A ‘claim for relief’

seeks redress of a distinct wrong; a distinct legal underpinning differs from

a new claim …” N.A.A.C.P. v. Am. Fam. Mut. Ins. Co., 978 F.2d 287, 291

(7th Cir. 1992); see also Broder v. Cablevisions Sys. Corp., 418 F.3d 187,

194 (2d Cir. 2005) (“One of the key characteristics of a mere ‘theory,’ as

opposed to a distinct claim, is that a plaintiff may obtain the relief he seeks

without prevailing on it”) (citing Christianson v. Colt Indus. Operating

Corp., 486 U.S. 800, 810-13 (1988)).

       Armslist also argues that Daniel is using federal aiding and abetting

law couched as a state tort claim in an effort to impose a background check

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requirement on private gun sales over the internet. Gun control is not

exclusively a federal issue, evidenced by the fact that ten states and the

District of Columbia already require background checks for private gun

sales.2 A ruling from a Wisconsin state court imposing liability in this case

will not impose a nationwide rule, and thus will not intrude on any federal

prerogative.3

       Finally, Armslist cites the Communications Decency Act, 47 U.S.C.

§ 230, which creates a federal immunity to any cause of action that would

make internet service providers liable for information originating with a

third-party user of the service. See Zeran v. Am. Online, Inc., 129 F.3d 327,

330 (4th Cir. 1997). Armslist concedes that a federal defense does not

create federal question jurisdiction, but argues that the CDA is further

evidence of the important federal issues raised in this lawsuit. From there

it does not follow that this case arises under federal law, as discussed

herein.


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        Cal. Penal Code §§ 27545, 27850; Colo. Rev. Stat. § 18-12-112; Del. Code tit. 11,
§ 1448B; N.Y. Gen. Bus. Law § 898; Or. Rev. Stat. § 166.438; Was. Rev. Code § 9.41.113;
R.I. Gen. Laws §§ 11-47-35 to 11-47.35.2; Conn. Gen. Stat. §§ 29-33(c), 29-37a; D.C.
Code Ann. § 7-2505.02; Md. Code Ann., Pub. Safety §§ 5-117, 5-118, 5-121, 5-124; Pa.
Cons. Stat. § 6111.
       3
         Federal law does not impose a background check requirement for private online
sales, but President Obama recently announced his intention to issue an executive order
targeting online marketplaces such as Armslist.com.
http://www.npr.org/2016/01/06/462114352/obama-aims-to-expand-background-checks-to-
online-gun-sales (accessed Feb. 12, 2016).
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     NOW, THEREFORE, BASED ON THE FOREGOING, IT IS

HEREBY ORDERED THAT plaintiff’s motion to remand [ECF No. 19] is

GRANTED.

     Dated at Milwaukee, Wisconsin, this 17th day of February, 2016.

                                          BY THE COURT:


                                          __________________________
                                          HON. RUDOLPH T. RANDA
                                          U.S. District Judge




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